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 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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        DUSTIN KELTER, an individual,                   CASE NO. 8:21-cv-01442-JLS-KES
11
                            Plaintiff,
12
        v.                                              ORDER REMANDING CASE TO
13                                                      STATE COURT
        TARGET CORPORATION, a Minnesota
14      Corporation; et al.,
15                          Defendants.
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17
             Having reviewed the Stipulation of the Parties and good cause appearing therefor,
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             IT IS HEREBY ORDERED THAT:
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             1.    This matter is hereby remanded to the Superior Court of California in and
20
      for the County of Orange, Case No.: 30-2020-01173131-CU-PA-CJC, and which “Notice
21
      of Removal of Civil Action” was filed with this Court on September 2, 2021, as
22
      Document 1;
23
             2.    The Parties agree that neither Party shall be deemed a prevailing party
24
      pursuant to this Stipulation as a result of this remand;
25
             3.    The Parties shall bear their own costs and fees;
26
             4.    Neither Party shall be assessed any costs and fees or be held to have waived
27    any argument, claim, or defense as a result of this Stipulation or remand; and
28           5.    The Court further orders that the court file in this case be transferred by the

                                                    1
     Case 8:21-cv-01442-JLS-KES Document 17 Filed 11/01/21 Page 2 of 2 Page ID #:115



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      clerk of this Court to the clerk of the State Court, along with a certified copy of this Order
 2    of Remand. The State Court may thereupon proceed with this case.
 3          IT IS SO ORDERED.
 4          DATED: November 1, 2021
 5
                                               JOSEPHINE L. STATON
 6                                     _________________________________________
 7
                                       HON. JOSEPHINE L. STATON
                                       UNITED STATES DISTRICT JUDGE
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